                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                              CASE NO. : 5:20-CV-00472-M


 MID-ATLANTIC RESTAURANT CORP.,       )
 a North Carolina corporation,        )
                                      )
         Plaintiff,                   )
                                      )
         V.                           )
                                      )
 GUMBY 1105, INC., a North Carolina   )
 corporation, and J. DAVID HARRIS, an )
 individual,                          )
                                      )
         Defendants and Third-Party   )
         Plaintiffs,                  )                            ORDER
                                      )
         vs.                          )
                                      )
 CARY KEISLER, INC., a North Carolina )
 corporation; S.C.N.B. REAL ESTATE    )
 SERVICES, LLC, a North Carolina      )
 limited liability company; GREGORY   )
 MOORE, an individual; JUNIUS MOORE, )
 an individual, and JOHN DOES 1-10,   )
                                      )
         Third-Party Defendants.      )



       This matter is before the court on the parties' Joint Motion to File Renewed Motions and

for Entry of Briefing Schedule [DE-51]. For the reasons stated and for good cause shown, the

motion is hereby GRANTED. The court adopts the following proposed schedule for briefing the

renewed motions.

    1. Counterclaimants filed their Renewed Motion for Preliminary Injunction [DE-47;

        formerly DE-19]; and Renewed Motion for Expedited Discovery [DE-49; formerly DE-

        38] on October 30, 2020.




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2. The following deadlines are hereby set for the Parties briefing of the Renewed

   Motions referenced in Paragraph 1.

      a. November 9, 2020: Deadline for Mid-Atlantic' s and Third-Party Defendants'

          Opposition to Renewed Motion for Expedited Discovery;

      b. November 9, 2020: Deadline for Mid-Atlantic' s and Third-Party Defendants'

          Opposition to Counterclaimants' Renewed Motion for Preliminary Injunction;

          and

      c. November 16, 2020: Deadline for Counterclaimants' Reply m Support of

          Renewed Motion for Preliminary Injunction.



  SO ORDERED this
                      1t day of November, 2020.
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                                 RICHARD E. MYERS II
                                 U.S. DISTRICT COURT JUDGE




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